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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


                                                                )
In re:                                                          )         Chapter 11
                                                                )
MATTRESS FIRM, INC., et al., 1                                  )         Case No. 18-12241 (CSS)
                                                                )
         Debtors.                                               )         Jointly Administered
                                                                )
                                                                )         Re: D.I. No. 333

                             OBJECTION TO NOTICE OF CURE AMOUNT

         Robinson Crossing, LLC (“Robinson Crossing”), by and through its undersigned counsel,

hereby objects to the Notice of Cure Amount relating to the unexpired lease between Robinson

Crossing, as lessor, and Sleepy’s LLC (the “Debtor”), as tenant, for the premises currently known as

Store 468A located at 468-A Ritchie Highway, Severna Park, Maryland 21146 (the “Premises”). In

support thereof, Robinson Crossing states as follows:

         1.       On or about March 23, 2011, Robinson Crossing and the Debtor entered into a Lease

by which Robinson Crossing leases the Premises to the Debtor.

         2.       Pursuant to the Lease, the Debtor must pay a base rent of $15,217.95 per month in to

Robinson Crossing plus certain additional costs and expenses, including common area maintenance

expenses, utility charges, and real estate taxes.

         3.       On October 5, 2018, the Debtor filed for bankruptcy.

         4.       The Debtor is in default under the terms of the Lease. As of the date of this Objection,

the amount due and owing on the Lease is $20,079.70, consisting of $15,217.95 in base rent,




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  The last four digits of Mattress Firm, Inc.’s federal tax identification number, are 6008. The Debtors’ mailing address is
10201 S. Main Street, Houston, Texas 77025. Due to the large number of Debtors in these chapter 11 cases, which are being
jointly administered, a complete list of the Debtors and the last four digits of their federal tax identification numbers is not
provided herein. This information may be obtained on the website of the Debtors’ noticing an claims agent at
http://dm.epiq.com/MattressFirm or by contacting counsel for the Debtors.
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$1,400.00 in common area maintenance expenses, $113.62 in water and sewer charges, $806.93 in

real estate tax charges for October 2018, and $2,541.20 in real estate tax reconciliation charges.

       5.      Because all of the foregoing amounts have been reconciled and billed as of the date of

this Objection, the amounts should be included in the amount necessary to cure the Debtor’s default

under the Lease.

       6.      By the Notice of Cure Amount, the Debtor proposes to cure its default under the Lease

by making a payment of only $17,540.03 to Robinson Crossing.

       7.      Robinson Crossing objects to the Notice of Cure Amount because the proposed cure

amount is less than the actual amount due and owing under the Lease as of the date of this Objection.

       WHEREFORE, Robinson Crossing respectfully requests that the Court enter an order

       (A)     Establishing that the cure amount for the Lease is $20,079.70;

       (B)     Granting such other and further relief as is just and appropriate under the

       circumstances.



Dated: October 29, 2018                       Respectfully submitted,
       Wilmington, Delaware
                                              DLA PIPER LLP (US)

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                                              and




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